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                                                           25cv00613 (NOGA)
                                                            (17-5) (Part 17-5)
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Rt.Ct.\\JG1~~.t-·P,\\anla                             The Office of Ulysses T. ware
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   BY US. MAIL AND ELECTRONIC FILING

  The Honorable Michael L. Brown
  United States District Judge
  Northern District of Georgia
  Richard B . Russell U.S . Courthouse
  75 Ted Turner Drive, SW
  Atlanta, GA 30303

  Re: Prose Appellants' 18 USC§§ 2071(a), (b), 28 USC§ 1654 March 14, 2025, (17-5) (Part
  17-5) 03.14.25 Memorandum to the District Court (NDGA), 25cv00613 (NDGA) (Brown, J.):
  re Supplemental Memorandum of Law regarding Appellees' Lack of Article III Standing
  and Subject Matter Jurisdiction.

 ) \ ~ectfully s~b~ i7 ed,

v;t;~?.Jt.~~
  Ulysses T. Ware
  28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
  Ulysses T. Ware

  cc:
  The Office of the District Clerk (NDGA).
  Executive Director Administrative Office of the U.S . Courts,
  Office of the FBI Director,
  via U.S. mail.




   28 USC § 1654 Pro Se Appellants' Certificate of Filing

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Filed on March 14, 2025, via U.S. mail and via email to the Chambers of the Hon. District Judge
Michael L. Brown pursuant to 18 USC §§ 207l(a), (b), a judicial public record for filing and
docketing in 25cv00613 (NOGA), and by 28 USC§ 1654 prose appellants.

Signed under oath subject to the penalty of perjury having personal knowledge of the facts,
pursuant to 28 USC§ 1746 this 14th day of March 2025, in Brooklyn, NY.

Isl Ulysses T. Ware




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A. Summary of the Appellants' Argument: Appellees' Lack of
Article III Standing and Jurisdiction over the Predatory Criminal
Usury Subject Matter, GX 1-4, and GX 5, Argument.


APPELLANTS'   SUMMARY    OF                     THE       ARTICLE         Ill    STANDING          AND
JURISDICTIONAL ARGUMENT.

        Appellants contend that the "Predatory Criminal Usury Subject Matter" (GX 1-4 and GX

5), upon which the disputed claims in 02cv2219 (S.D.N.Y.), 03-93031 (Bankr. N.D. Ga.), and

this 25cv00613 (N.D. Ga.) appeal are purportedly founded, is categorically null and void ab initio

under New York's criminal usury statute, N.Y. Penal Law§ 190.40, and federal racketeering law

(18 U.S.C. §§ 195l(a), 1961(6)(B), 1962(a-d)). As a result, no constitutionally required "legally

protected interest" can stem from these predatory criminally usurious contracts, GX 1-4, and GX

5, and, there can be no "particularized" or "concrete" injury in fact sufficient to satisfy Article Ill's

constitutional standing requirements (Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998);

Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)). Because standing is an indispensable

predicate to federal jurisdiction, any orders, judgments, or proceedings relying on GX 1- 5 are, by

operation oflaw, moot and void ab initio, from inception.


       Appellants further emphasize that the claims in 02cv2219 were voluntarily dismissed with

prejudice on December 20, 2007, pursuant to Fed. R. Civ. P. 4l(a)(2), after all applicable statutes

of limitation had expired-thus extinguishing forever any arguable right of enforcement of the

alleged "debts." Consequently, there is no legitimate basis for standing in 03-93031 or this

25cv00613 appeal. When no Article III injury in fact exists, a federal court is constitutionally

barred from hearing the merits. Appellants thus respectfully request that each (putative) Appellee


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submit a sworn declaration, under penalty of perjury, affirming how any "live" controversy could

exist regarding obligations that are criminally usurious and long since dismissed on the merits.


       By pointing out the legal and factual impossibility of establishing a legally cognizable

iniury in fact, Appellants highlight that, under Steel Co., courts must address jurisdiction "first"

and dismiss an action if the requirements of standing are unmet. Here, no adverse real party in

interest can claim an enforceable "legally protected interest or equitable right" in criminally

usurious null and void ab initio, see NYS Penal Law, section 190.40, contracts, OX 1-4, and OX

5; no cognizable harm arises from Appellants' lawful refusal to aid, abet, or facilitate transactions

that violate federal securities laws (15 U.S.C. §§ 77e, 77x, 78o(a)(l), 78ft) and the Racketeer

Influenced and Corrupt Organizations Act (18 U.S.C. § 1961 et seq.). Thus, because the "Predatory

Criminal Usury Subject Matter" contravenes both state and federal law, the proceedings and orders

in 02cv2219, 03-93031, and 25cv00613 by operation of law deemed null, void ab initio, and

unenforceable.


       On the one hand, the (putative) Appellees-namely, KTS and its unregistered broker-

dealer clients, the UST, Zitter, Rabinowitz, et al.- bear the burden under Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-61 (1992), to present affirmative proof ofa concrete and particularized

"injury in fact" fairly traceable to the Appellants' refusal to facilitate or collect on the predatory

criminal usury instruments (OX 1-5). They must establish that those predatory debt instruments,

despite being null and void ab initio under New York's criminal usury statute, section 190.40, a

class E felony, somehow confer a lawful "legally protected interest" that can survive scrutiny under

Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 93-95 (1998). MeetJ-t1g :1his threshold



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iniurv in fact from the nonpavment of an unenforceable debt-which bv its very nature cannot

generate a legitimate, enforceable right. A mystery, inside of a conundrum, wrapped in a riddle,

of unprecedented dimensions.


       On the other hand, any attempt by Appellees to prove such standing carries the inherent

risk of self-incrimination and possible criminal prosecution. By arguing that facially usurious

contracts, GX 1-4, prohibited by state and federal law, constitute a basis for real "concrete" harm,

they would be forced to endorse the existence and validity of a bogus and fraudulent predatory

criminal usury debt deemed unlawful and subject to racketeering prohibitions under 18 U.S.C.

§§ 1961(6)(B), 1962(a)-(d). In pressing a perilous and dangerous position that contradicts their

own judicial admissions and confessions in related proceedings- and that aligns them with

collecting or enforcing a criminally usurious debt- the Appellees risk triggering further

investigation or indictment for engaging in, or attempting to profit from, illegal loan sharking,

money laundering, or Hobbs Act extortion. Thus, any "affirmative showing" of standing not only

clashes with well-settled legal principles but also exposes the Appellees to heightened liability,

including criminal sanctions . A metaphysical dilemma.


       Accordingly, Appellants respectfully request that this Court promptly issue an Order

directing each named (putative) Appellee to file sworn declarations by March 21, 2025, at 10:00

AM, explaining the factual and legal basis upon which they purport to assert a "legally protected

interest" and consequent "con_crete injury in fact." Should no Appellee demonstrate the mandatory

constitutional elements of standing, which they cannot, the Court must dismiss these proceedings

in their entirety- or declare them void ab initio-for lack of subject matter jurisdiction. In

addition, Appellants specifically pray that this Court enter the following reliefs holding this

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appeal in abeyance pending sanctioning proceedings and other proceedings to be conducted by

this Court:


    1. Withdraw the reference to the Bankruptcy Court for the 03-93031 proceedings and

       vest jurisdiction in the District Court to conduct sanctioning proceedings and other relevant

       matters.

   2. Order the Chapter 1~ proceedings reopened so that the estate's rights and interests may

       be fully protected.

   3. Require the Appellees to immediately turn over all assets of the Chapter 11 estate

       under 11 U.S.C. § 542(a), including the +US$522 million in short-swing profits

       recoverable under 15 U.S.C. § 78p(b), any liability insurance policies owned by the

       putative Appellees, and any John Doe Insurance Companies (#1-5) and their insured.

   4. Refer each lawyer and officer of the court implicated herein to the District Court (N.D.

       Ga.), the State Bar of Georgia, or their respective bar associations with a judicial

       recommendation for lifetime disbarment for violations of Rules 3 .3 (candor toward the

       tribunal) and 8.4 (fraud, deceit, and misrepresentation).

   5. Enter       an   order   scheduling     comprehensive      fraud-on-the-court      sanctioning

       proceedings, including under 28 U.S .C. § 1927, Fed. R. Civ. P. 1 l(b)(l)-(4), and the

       Court's inherent powers.

   6. Refer all culpable parties to the U.S. Department of Justice's Office on Public

       Integrity, together with a judicial recommendation to open a criminal investigation for

       conspiracy to collect predatory, criminally usurious debts using Hobbs Act extortion and

       threats of violence.


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        Only by requiring a full and transparent jurisdictional showing- and by imposing the

requested remedies and sanctions if no standing is established-can this Court safeguard the

integrity of the judicial process and uphold the constitutional imperative that no federal court may

adjudicate a controversy lacking a valid and non-moot Article III stake.


Respectfully submitted,

/s/ Ulysses T. Ware
91¥,<,{/V~
Ulysses T. Ware


28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware

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APPELLANTS' ARGUMENT IN SUPPORT OF REQUEST FOR
SHOW CAUSE ORDER DIRECTED TO EACH (PUTATIVE)
APPELLEE.
        Appellants Ulysses T. Ware, a natural person d/b/a Group Management, a sole

proprietorship, jointly, pursuant to 28 USC § 1654, respectfully submit this Argument in further

support of their request (17-1) (March 10, 2025) that this Court issue an Order- pursuant to Article

III of the United States Constitution, binding Supreme Court authority, and the Court's inherent

power- requiring each of the identified (putative) party Appellees, infra, jointly and severally, to

file, under penalty of perjury, a sworn declaration attesting to the existence (or non-existence) of

the essential jurisdictional predicates of a "live" Article III case or controversy with respect to the

predatory criminal usury subject matter designated as GX 1, GX 2, GX 3, GX 4, and GX 5

(collectively the "Predatory Criminal Usury Subject Matter"), null and void ab initio as a

matter of federal racketeering law, (i) see 18 USC§§ 152, 157, 1951(a), 1961(6)(B), 1962(a-d),

and (ii) NYS Penal Law, section 190.40, the criminal usury law, a class E felony.




I. INTRODUCTION                             AND          SUMMARY                    OF        THE
ARGUMENT.
    1. No Live Article Ill Case or Controversy. Appellants assert that, as a matter of both law

       and fact, no justiciable Article Ill case or controversy regarding the purported "Predatory

       Criminal Usury Subject Matter" (GX 1-4 and GX 5) has ever existed in any of the

       proceedings below- namely, 02cv2219, 03-93031 , and 25cv00613.

   2. No Legally Protected Interest; No Injury in Fact. The Appellees (plaintiffs) have never

       possessed a valid, "legally protected interest" in the Predatory Criminal Usury Subject

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        Matter that could satisfy the "concrete injury in fact" requirement of Article III. When a

        party is attempting to enforce or collect regarding a transaction that is criminally

        usurious 1- and thus void ab initio under New York law (N.Y. Penal Law§ 190.40; see

        also Adar Bays LLC v. GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022))-no "concrete"

        and "particularized" harm exists to form the basis of an Article III controversy.

    3. Mootness and Void Ab lnitio . Consequently, the prior and pending proceedings are null,

        void ab initio, and moot. By definition, criminally usurious contracts (and demands for

        performance thereon) cannot give rise to a constitutionally cognizable legal interest.

    4. Requirement to Address Jurisdiction First. Under Steel Co. v. Citizens for a Better

        Environment, 523 U.S. 83, 93- 95 (1998), and Lujan v. Defenders of Wildlife, 504 U.S.

        555, 560-61 (1992), this Court must "first" confirm its Article III jurisdiction over the

        Predatory Criminal Usury Subject Matter before proceeding to consider any merits-based

        issues. This principle is mandatory and non-waivable.

    5. Requested Order. Accordingly, Appellants respectfully request an immediate Order, by

        which each of the 29 (putative) Appellees identified below is required-under oath,

        pursuant to the penalty of perjury, and not later than ~               arc~ 21 J02~,, at 10:00
                                                                                         0




        AM-to show cause why they believe any justiciable, non-moot, and non-void interest

        exists with respect to the purported Criminal Usury Subject Matter.



1
  See 02cv2219 (SONY) lawsuit's claims; and also see 25cv00613 (NOGA) 0kt. 5-1 to 5-6 manifestly
bogus, frivolous , vexatious, filed for an improper purpose (i.e., cf., 18 USC § 1961(6)(B), criminal usury
unlawful debt collection activities, reckless and negligent purported pleadings filed by the U.S. Trustee,
Region 21 , Appellee James H. Morawetz, Esq., an officer of the court (see 0kt. 5-1 and 5-3), and filed by
Atlanta, GA law firm KTS and its partners Appellees Meir, Mills, Walker, and Kadaba (see 0kt. 5-2, 5-4,
5-4, and 5-6), jointly, with the UST's pleadings, (the "Unlawful Debt Collection Pleadings"), all in bad
faith and recklessly violated Rule 90ll(b)(l-4), 28 USC§ 1927, and the Court's inherent sanctioning
power.

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II. FACTUAL AND PROCEDURAL BACKGROUND: THE
PURPORTED "PREDATORY CRIMINAL USURY
SUBJECT MATTER"
   1. Nature of the Criminal Usury Subject Matter


       1.1. The subject of this dispute, denominated as GX 1, GX 2, GX 3, GX 4, and GX 5,

       involves predatory criminal usury convertible promissory debts or agreements that, on their

       face , bear interest rates or fee structures (+ 2000%) far exceeding the statutory thresholds

       for criminal usury under New York law (N. Y. Penal Law § 190.40), thereby rendering them

       void ab initio.


       1.2. Adar Bays LLC v. GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022), reaffirms that

       certain high-interest instruments- particularly those convertible into securities-may be

       deemed usurious and hence void from inception where they violate New York' s criminal

       usury statute, section 190.40, the criminal usury law, a class E felony , and the collection

       thereof shall violate federal racketeering law, 18 USC 195l(a), 1961(6)(B), and 1962(a-d).

       See U.S. v. Grote, 961 F.3d 105, 109 (2d Cir. 2020) (aff'd criminal conviction, sentence,

       and +$3.5 billion RICO forfeiture judgment for unlawful debt collection activities).


   2. Proceedings Below


       2.1. In 02cv2219 (S .D.N.Y.), the claims relating to this same purported Criminal Usury

       Subject Matter were voluntarily dismissed with prejudice on Dec. 20, 2007, Dkt. 90,

       Sand, J., by the then-plaintiffs, see Dkt. 5-2 (KTS ' entry of appearance in 03-93031 on

       behalf of the unregistered broker-dealers, the 02cv2219 plaintiffs) under Fed. R. Civ. P.


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        4l(a)(2), culminating in a final judgment entered on December 20, 2007, in favor of the

        Appellants herein, long after the statutes of limitation had lapsed for any potentially valid

        claims-that is, a final judgment and res judicata on the merits in favor of Appellants Ware

        and Group Management. See U.S. v. L-3 Comm 'cs EOTech, Inc., 921 F .3d 11, 18-19 (2d

        Cir. 2019) (Kearse, J.) (collecting cases) (plaintiffs voluntary of their lawsuit annulled,

        voided, vitiated, set aside, and vacated all prior proceedings, orders, and judgments in

        the {02cv2219 (SDNY)l proceedings, and rendered the proceedings moot). (emphasis

        added). 2


        2.2. During the 03-93031 Chapter 11 proceeding in the Bankruptcy Court (N.D. Ga.),

        similar manifestly frivolous, bogus, vexatious, filed for an improper purpose, baseless in

        law and fact, 18 USC § 1961(6)(B) criminal usury debt collection allegations were made

        by the UST (Morawetz, see Dkt. 5-3) and KTS (see Dkt. 5-4, 5-4, and 5-6) concerning the

        same set of predatory criminal usury null and void ab initio debt instruments (GX 1-4 and

        GX 5), see Dkt. 5-13 , 5-14, and 5-16. Appellants contend those bogus and fraudulent

        vexatious baseless allegations never ripened into a valid Article III case or controversy

        because the predatory criminal usury debt contracts, GX 1-4, GX 5, being criminally

        usurious, cannot create a legally enforceable debt or a bona fide debt, or collectible or

        enforceable "claim" l~gally cognizable in a United States or state court (the Supreme Court




2
 Cf., 25cv00613 (NDGA) 0kt. 5-2, 5-3 , 5-4, 5-5 , and 5-6; and 0kt. 5-7, 5-8, 5-9, and 5-10 are all referenced
and are predicated on the alleged and unsupported in fact or law legal existence of the 02cv2219 ' s void ab
initio and moot proceedings, moot orders, and moot judgments.

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        of Georgia regarding the predatory, moot, and fabricated In re Ware 2008 fake disbarment

        proceedings). 3 See Adar Bays, Id., and 18 USC §1961(6)(B).


        2.3 . The matter sub judice, 25cv00613 (N.D. Ga.), recycles the same basic usurious

        obligations as the basis of an asserted claim or standing by the (putative) Appellees.

        Appellants maintain that none of the identified persons or entities has demonstrated (or can

        demonstrate) a valid, legally protected interest that meets constitutional requirements for

        standing.


    3. Appellants' Lawful Conduct and Federal Securities Implications


        3 .1. The refusal by Appellants to aid, abet, assist, enable, or facilitate any transactions in

        regarding to the issuance of bogus and fabricated Rule 144(k) legal opinions to enable the

        Appellees to conduct an unregistered public offering of the Chapter 11 Debtor' s equity

        securities in contradiction to SEC Release 33-7190 n. 17 (1995), and Berckeley, 455 F.3d

        at 220, that criminally violated federal securities laws (15 U.S.C. §§ 77d, 77e, 77x,

        78o(a)(l), 78p(b), 78ft), and federal racketeering and loan sharking law, 18 USC 2, 152,

        157, 371, 1951(a), 1961(6)(B), and 1962(a-d) cannot, as a matter of law, constitute the

        basis for a cognizable "concrete injury in fact" to the (putative) Appellees with respect to




3
 The In re Ware 2008 SBGA disbarment proceedings were retaliatory in nature and undertaken to
coerce compliance with a criminally usurious and thus void debt, GX 1-4, in direct furtherance of the
unlawful debt collection activities alleged under 18 U.S.C. § 1961(6)(B). By exploiting the professional
disciplinary process to penalize nonpayment of a debt deemed void ab initio, the Appellees orchestrated
and/or benefited from Appellant Ware's disbarment effectively weaponized a state bar proceeding to
enforce or collect on an unlawful debt, GX 1-4-thereby illustrating a clear nexus between the disbarment
action and the larger scheme to collect a criminally usurious obligation.

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        the null and void ab i~itio Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5.

        Lujan, 504 U.S. at 560-61.


        3.2. No (putative) Appellee named in the 25cv00613 appeal can in good faith claim a

        constitutionally protected "legal or equitable right or property interest" in the (i)

        enforcement or (ii) collection of an unlawful, criminally usurious debt, GX 1-4, or (iii) in

        the continued facilitation of a federally prohibited securities transaction conducted by

        unregistered broker-dealers, KTS' clients (see Dkt. 5-2) as certified by FINRA's senior

        executive Macia E. Asquith, Esq. on May 17, 2021, see Dkt. 5-13 on page 48, in violation

        of the federal securities laws, 15 USC§§ 77x, 78o(a)(l), 78cc(b)4, and 78ff (the criminal

        violation of the federal securities laws aided and abetted by KTS and its lawyers, Meir,

        Mills, Walker, Kadaba, and the UST's lawyers (Morawetz, Townson, and Treace), all

        officers of the court- an illegal association in fact as defined at 18 USC§ 1961(4), subject

        to the District Court' s Rules of Professional Conduct Rule 3.3 (duty of complete candor)

        and Rule 8.4 (fraud, deceit, misrepresentation, and deception); and moreover subject to

        federal criminal prosecution for aiding and abetting predatory loan sharking, extortion,

        money laundering, unlawful entries, attempted armed robbery, Hobbs Act extortion, mail




4
  15 USC 78cc(b). Contract provisions in violation of chapter.
Everv contract [GX 1-4, and GX 5] made in violation of any provision of this chapter [15 USC §78o(a)(l)]
or of any rule or regulation thereunder, and every contract (including any contract for listing a security on
an exchange) heretofore or hereafter made, the performance of which involves the violation of, or the
continuance of any relationship or practice in violation of, any provision of this chapter or any rule or
regulation thereunder, shall be void (1) as regards the rights ofanv person [KTS' unregistered broker-
dealer clients, see Dkt. 5-2, 5-3, 5-41 5-5, and 5-3; and Dkt. 7 to Dkt. 5-101 who, in violation ofanv such
provision, rule, or regulation, shall have made or engaged in the performance ofanv such contract[J
(emphasis added).


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        and wire fraud, conspiracy to commit bankruptcy fraud , obstruction of justice, and

        racketeering to obstruct justice- that is, a pattern of racketeering activities.



III. LEGAL STANDARD AND AUTHORITIES
    1. Article III Standing and Case or Controversy


        1.1. Under Article III of the Constitution of the United States, a party (the Appellee UST-

        Morawetz, Townson, and Treace in 03-93031, and Appellee KTS ' clients in 02cv2219 and

        03-93031) 5 seeking redressable judicial relief in a federal court 02cv2219 (see the moot

        complaint), and 03-93031 , (see Dkt. 5-3, 5-4, 5-5, and 5-6) must demonstrate (a) a concrete

        and particularized injury in fact to a "legally protected interest," (b) that is fairly traceable

        to the defendant's (Appellants') unlawful conduct, and (c) that is likely to be redressed by

        a favorable judicial decision. Lujan, 504 U.S. at 560-61.


        1.2. An alleged "concrete" iniury in fact was never suffered by the Appellees that

        purportedly derives from a nonexistent "legally protected interest" in the Predatory

        Criminal Usury Subject Matter, GX 1-4, and GX 5, is central to the present Article III

        standing inquiry. Id. Where no lawful "legally protected interest" exists with respect to the

        Predatory Criminal Usury Subject Matter- such as an attempt to enforce a contract, GX 1-

        4, and GX 5, that is criminally usurious and thus void ab initio-there is and legally


5
  Appellee KTS on Apr. 10, 2003, Dkt. 5-2, entered its fraudulent and deceitful appearance in 03-93031 on
behalf of the 02cv2219 (SDNY) plaintiffs, certified unregistered broker-dealers. after being "hired" by
Appellee Kenneth A. Zitter, Esq . for the express and judicially admitted purpose and criminal objective to
enforce, and/or collect, or have the 03-93031 Chapter 11 dismissed with prejudice (see Dkt. 5-5 and 5-6)
to enable the Appellees' unlawful enforcement or collection of the Predatory Criminal Usury Subject
Matter, GX 1-4, and GX 5, in criminal violation offederal racketeering loan sharking and money laundering
laws, 18 USC§§ 1951(a), 1956-57, 1961(6)(8), and 1962(a-d).

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        cannot be a "particularized" "concrete iniury6 in fact" suffered by the Appellees.

        Accordingly ipso facto, see Steel Co., 523 U.S. at 94-95, all proceedings (02cv22 l 9, 03-

        90331, 04crl224 (SDNY), and 25cv00613 (NDGA)) therefore in whole or in part

        predicated on the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5, are null

        and void ab initio, moot, and a nullity. Steel Co., Id.


    2. Mandatory Duty to Address Jurisdiction First


        2.1. In Steel Co., 523 U.S. at 93- 95, the Supreme Court held that not some but all federal

        courts must "first" determine the existence (or absence) of subject matter jurisdiction

        before reaching any merits issues. Appellants' requested Show Cause Order (17-1)

        requiring a showing of Article III standing by unregistered broker-dealers (KTS' loan

        sharking predator clients), a legal and factual impossibility, and article III subject matter

        jurisdiction over the Predatory Criminal Usury Subject Matter GX 1-4, and GX 5, also a

        legal and factual impossibility, is especially warranted when, as here, there is the strongest

        evidentiary foundation and indication that the entire proceedings in 02cv22 l 9 (SDNY) 03-

        93031 (Dkt. 5-1 to 5-16, and Dkt. 9), and 04crl 224 (SDNY) were shams and all are "null

        and void ab initio." Extra-judicial and illegal proceedings in furtherance of the ongoing




6
  Exactly what is and how the alleged "concrete injury" was suffered by the Appellees respect to
enforcement or collection of null and void ab initio Predatory Criminal Usury Subject Matter is at the core
of this Article III judicial proceeding-that is, the plaintiffs below in 02cv2219 (SDNY), KTS' unregistered
broker-dealer clients, see Dkt. 5-2, pursuant to the Court's holding in Lujan , 504 U.S. at 560-61, currently
have the burden o(proof and production to appear in the District Court (NOGA), 25cv00613 (NOGA)
(MLB) and "affirmatively establish" Article III standing, a legal and factual impossibility given their own
binding judicial admissions and confessions pleaded in other relevant judicial proceedings. Steel Co., 523
U.S. at 93-95. A dubious, insurmountable, and inherently risky prospect. On the one hand

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        and continuous RICO loan sharking, money laundering Hobbs Act extortion, and unlawful

        debt collection conspiracy.


        2.2. United States Federal Courts do not possess equitable or remedial power over claims

        that fail to satisfy the threshold requirement of a live case or controversy, the matter is a

        nullity without legal validity. Steel Co., 523 U.S. at 93-95.


    3. Criminal Usury Under New York Penal Law, section 190.40, the criminal usury law,

        a class E felony.


        3.1. N.Y. Penal Law § 190.40 states that charging interest exceeding 25% per annum

        constitutes criminal usury in the first degree, punishable as a class E felony . Such

        obligations {GX 1-41 are void from their inception. 7


        3.2. Where a predatory criminal usury obligation, GX 1-4, is null and void ab initio, the

        Appellees herein are legally prohibited, precluded, and cannot assert or claim an

        enforceable legal or equitable right under that predatory criminal usury debt obligation,

        GX 1-4. Adar Bays, 28 F.4th at 380- 81 (analyzing the effect of convertible notes with

        usurious interest rates).




7
  KTS in Dkt. 5-2, 5-4, 5-5, 5-6, and in Dkt. 6, and the UST in Dkt. 5-3, judicially admitted and confessed,
that KTS' clients, the unregistered broker-dealers in fact sought to enforce and collect on GX 1-4 in the
02cv2219 (SDNYJ and 03-93031judicial proceedings, and, accordingly,"the iudicial admissions pleaded
in 02cv2219 (SDNY), admitted byAppellees Rabinowitz and Zitter in 04cr1224 (SDNYJ, see Dkt. 6, and
pleaded in the 03-93031 Chapter 11 are absolutely binding on KTS, their clients, and the UST in all
subsequent proceedings, (25cv00613 (NDGA)), see Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009)
(judicial admissions are binding on the clients and the lawyers making such admissions in judicial
proceedings).

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               Article III standing with respect to the 02cv22 l 9 (SDNY), 03-93031 (BC NDGA),

       04crl224 (SDNY), and 25cv00613 (NDGA) in whole and/or in part to enforce or collect

       the null and void ab initio predatory criminal usury debt obligations, GX 1-4, is, therefore,

       ipso facto , as a matter oflaw and fact a legal impossibility; thus, ipso facto , by necessary

       implication it follows that lacking Article III standing the 02cv2219 (SONY) proceedin2s

       and all orders and purported iud2ments entered therein are null and void ab initio,

       all orders and judgments entered in the 03-93031 Chapter 11 in favor of KTS' unregistered

       broker-dealer clients are null and void ab initio, moot, and nullities (Dkt. 28 (Murphy, J.);

       Dkt. 5-7, 5-8, 5-9, and 5-10, Orders). Steel Co., 523 U.S. at 93-95 .


   4. Statutes of Limitation and Voluntary Dismissals


       4.1. A final judgment of dismissal with preiudice under Fed. R. Civ. P. 41(a)(2) in

       02cv2219 legally foreclosed any further litigation of the same claims in the 02cv2219

       lawsuit with respect to GX 1-4 and GX 5, the Predatory Criminal Usury Subject Matter,

       see Federated, 452 U.S. at 398, 401-02 (final judgment is binding absolutely in all courts,

       the parties, and their privies in all subsequent litigation or lawsuits; and all issues, facts

       and claims actually or necessarily resolved by the voluntary Dec. 20, 2007, Dkt. 90, Rule

       41(a)(2) final judgment "are forever resolved against /the 02cv2219 plaintiffs, their

       privies, agents, proxies, surrogates, alter-egos, and all those in concert therewith , i.e.,

       each Appellee named in the pending 25cv00613 (NDGA) appeal)]." (emphasis added).


       4.2. The 25cv00613 (NDGA) Appellate Record, Dkt. 5-13 at pages 46-47, definitively

       indicates that the 02cv2219 lawsuit' s claims were voluntarily dismissed with preiudice by


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          the plaintiffs, through counsel Appellee Kenneth A. Zitter, Esq., pursuant to Rule 41(a)(2)

          on Dec. 20, 2007, Dkt.90, after the limitations period had expired. 8 Consequently, there

          are no extant or "live" cognizable extant case or controversy with respect to annulled,

          vitiated, and moot claims, orders, judgments, or proceedings related to the 02cv22 l 9

          (SDNY) lawsuit upon which Article III jurisdiction in 03-93031 (BC NDGA) and

          accordingly, 25cv006 l 3 (NDGA) appeal can lawfully be based. See L-3 Comm 'cs

          EOTech , 921 F.3d at 18-19.



IV. ARGUMENT
      1. No Viable Adverse Real Party in Interest Has Been Identified by the District Court or

          by the (putative) Appellees according to the 25cv00613 (NOGA) Docket as of March

          14, 2025.


          1.1 . Appellants challenge each (putative) Appellee to identify a "real" and "adverse" Jl!l!1J!.

          in interest having an Article III constitutional "legally protected interest" with respect to

          enforcement or collection (but see RICO federal law, 18 USC §1961(6)(B)) the Predatory

          Criminal Usury Subject Matter (GX 1--4 and GX 5). 9 Because the instruments themselves

          are nullities, no legally recognizable adverse interest exists.


          1.2. The Federal Rules and Supreme Court precedent require a showing that a complaining

          party has a present, non-conjectural injury in fact. None of the Appellees has demonstrated




8
    See 25cv00613 (NOGA) Dkt. 5-13 on pages 46-47.
9



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        that a current, non-extinguished right or "legally protected interest" in these usurious

        instruments persists.


    2. Criminal Usury and Void Ab Initio


        2.1. As a matter of law, a debt that is criminally usurious under N.Y. Penal Law§ 190.40

        is null and void from inception and confers no enforceable rights-that is, no Article III

        legally protected interest" in GX 1-4 and GX 5; and accordingly, lacking the constitutional

        "legally protected interest" KTS and its clients ipso facto as a matter of law and fact have

        not and cannot establish the constitutionally required "particularized concrete injury in

        fact" to a nonexistent "legally protected interest" in the Predatory Criminal Usury Subject

        Matter, GX 1-4 and GX 5-that is, the 02cv2219 (SDNY), 03-93031 (BC NDGA),

        04cr1224 (SDNY), and 25cv00613 (NDGA) moot proceedings to the rights and interests

        of the Appellees are null and void ab initio nunc pro tune March 2001,.


        2.2. The "injury" alleged-namely, that Appellants declined to facilitate or repay an

        unlawful debt or assist in possible violations of federal securities laws-cannot constitute

        a legitimate "injury" recognized by Article Ill.


    3. Implications of Voluntary Dismissal and Limitations Period


       3.1. The final dismissal in 02cv2219 (S.D.N.Y.) was entered voluntarily under Fed. R. Civ.

       P. 4l(a)(2) on December 20, 2007, extinguishing any prospective claim arising from the

       same set of facts once and for all.




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        3 .2. Any attempt to resurrect or reassert those claims now- well after the relevant statutes

        oflimitation-constitutes a legal impossibility and further eviscerates any claim of a "live"

        controversy.


     4. Subject Matter Jurisdiction Must Be Determined Before Reaching Merits

        4.1. This Article III Ui:iited States Federal Court is constitutionally and procedurally bound

        to satisfy itself "first" that a live justiciable case or controversy exists between the real

        parties in interest (Ulysses T. Ware d/b/a Group Management, a sole proprietorship, and

        the Appellees) with respect to the null and void ab initio Predatory Criminal Usury Subject

        Matter, GX 1-4, and GX 5, before it is legally authorized address any merits-based

        argument. Steel Co., 523 U.S . at 93- 95. 10


        4 .2. Because Appellants have put forth substantial evidence and legal arguments that no

        such controversy exists, the burden rightly shifts to those invoking federal jurisdiction to

        submit sworn declarations demonstrating the existence of a viable claim and actual "injury

        in fact."


     5. Practical Application and Judicial Economy




10
  Applying the Court' s instructions to the lower federal courts explained in Steel Co., 523 U.S. at 93-95
and Lujan, 504 U.S. 560-61, Appellees Zitter, Rabinowitz, Grushko, Mittman, Southwell, Meir, Mills,
Walker, Kadaba, Garland, Arora, Samuel, Singer, Bachner, Levitt, the SBGA, the UST, Morawetz,
Townson, Treace, KTS ' lawyers and KTS' clients (the unregistered broker-dealers, see Dkt. 5-2, 5-4, 5-5,
and 5-6) have the burden of proof and production to "affirmatively establish" their Article III standing to
have initiated the 02cv2219 (SONY) lawsuit, and Article III standing to have appeared in, 0kt. 5-1, 5-2,
and criminally obstructed, 18 USC 152, 157, 195l(a), 1961(6)(B), 1962(a-d), and 207l(a), (b) Appellant
Group Management's Chapter 11 reorganization, Dkt. 5-3, 5-4, 5-5, and 5-6, with respect to the null and
void ab initio Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5.

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        5.1. A swift resolution regarding subject matter jurisdiction serves the interests of judicial

        economy by ensuring-that neither party nor court expends resources on proceedings that

        are constitutionally void from the start.


        5.2. By compelling each (putative) Appellee to immediately come forth as an officer of the

        court, and under oath attest to the current extant existence of any purported claim or legal

        or equitable "legally protected interest," in the enforcement or collection of GX 1-4, the

        Court can efficiently confirm whether there is an extant cognizable adverse "legally

        protected interest" which suffered a "particularized concrete injury in fact" caused by the

        lawful conduct of Appellants in refusing to issue bogus and fraudulent Rule 144(k) legal

        opinions to the 02cv2219 (SDNY) plaintiffs and their agents, Appellees herein, to

        circumvent the strict-liability registration provisions of the federal securities law, 15 USC

        77e, 77x, and 78ff, and enable an illegal and unregistered public offering of Appellant

        Group Management's equity securities in violation of 18 USC 2, 371, 1341 , 1343, 1344,

        1503, 15 l(a), 1956-57, 1961(6)(B), and 1962(a-d), a pattern ofracketeering activities-or,

       as Appellants contend, no interest at all. See SEC Release 33-7190 n. 17 (1995) cf., GX 5,

       i]l 0. l(iv) ("Section 2(a)(l 1) statutory underwriter is required to register [i.e., KTS' clients,

       judicially admitted and confessed, see GX 5, at iJlO.l(iv), and ,i,i 12-13 in the 02cv2219

       (SDNY) complaint, 15 USC § 77b(a)(l 1) statutory underwriters of GX 1-4 legally were

       and are ineligible for Rule 144(k) exemption to Section 5 of the 1933 Act's registration

       requirements] all distributions [public offerings] of securities" with the SEC.) (emphasis

       added.




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V. REQUEST FOR AN ORDER REQUIRING SWORN
DECLARATIONS
       For all the good faith and complete reasons set forth above, Appellants respectfully request

that this Court issue an Order directing each of the following (putative) Appellees-jointly and



10:00 AM (time being of the essence), a sworn declaration signed under penalty of perjury and

in full compliance with professional ethics rules (including ABA Model Rules 3.3 and 8.4, the

District Court (N.D. Ga.) Rules of Professional Conduct, and the State Bar of Georgia Rules of

Professional Conduct):


    1. Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP
   2. James H. Morawetz, Esq. , Mary Ida Townson, and Jeneane Treace, Esq.
   3. The Office of the U.S. Trustee, Region 21, Atlanta, GA office
   4. Dennis S. Meir, Esq.
   5. John W. Mills, III, Esq.
   6. J. Henry Walker, IV, Esq.
   7. Wah Kadaba, Esq.
   8. Kenneth A. Zitter, Esq.
   9. Edward T .M. Garland, Esq .
    10. Manibur A. Arora, Esq.
    11. Donald F. Samuel, Esq.
    12. Michael F. Bachner, Esq.
   13. David B. Levitt, Esq.
   14. Janice Singer, Esq.
    15. Alexander H. Southwell, Esq.
    16. Patrick N. Arndt, Esq.
    17. Michael D. Hostetter, Esq .


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   18. William D. NeSmith, III, Esq.
   19. Paula Frederick, Esq.
   20. Leigh Burgess, Esq.
   21. Jenny Mittlemen, Esq.
   22. William Alan Myers, Esq.
   23. Jonathan Hewett, Esq:
   24. Andrienne Nash, Esq.
   25. Russell Willard, Esq.
   26. The State Bar of Georgia
   27. Convicted felon Edward M. Grushko, Esq.
   28. Barbara R. Mittman, Esq. , and
   29. Arie Rabinowitz


       Such declarations shall state, with specificity and under oath, the legal and factual bases (if

any) by which a cognizable live Article III case or controversy (1) exists now in 25cv00613 (N.D.

Ga.), (2) existed at all points during the 03-93031 (Bankr. N.D. Ga.) Chapter 11 proceeding, and

(3) existed at all points during the 02cv2219 (S.D.N.Y.) action:


    I . Identification of Real Party in Interest.

           a. Which party, putative Appellee, if any, allegedly currently holds, or held a lawful

               "legally protected right" to which they suffered "a particularized concrete injury n

               facts" caused by the Appellants' lawful conduct with respect to GX 1, GX 2, GX

               3, GX 4, and GX 5, enforcement and/or collection, notwithstanding the fact that

               these Predatory Criminal Usury debt instruments bear interest rates in excess of

               +2,000%, and thus, criminally violated NYS Penal Law, section 190.40, the

               criminal usury law, a class E felon, and also the collection thereof violated federal




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                racketeering l~w, 18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d),              and are

                criminally usurious and thus void ab initio?


    2. Article III Standing as a Real Party in Interest to Assert an Alleged Legally Protected
       Interest in the Predatory Criminal Usury Subject Matter, GX 1-4 and GX 5.

            a. To state under oath subject to the penalty of perjury as an officer of the court, or

                interested party, identify each alleged lawful ground that party (putative Appellee)

                claims a "legally protected interest" in GX 1-4 and GX 5 amounting to a

                "particularized and concrete iniury in fact," consistent with Lujan and Steel Co.,

               given that no party can lawfully enforce or benefit from criminally usurious

                contracts?


    3. Effect of 02cv2219 (SDNY) Dec. 20, 2007, Rule 41(a)(2) Voluntary Dismissal and
       Time-Bar.

           a. Explain under oath subject to the penalty of perjury how, if at all, do the (putative)

               Appellees circumvent or negate the preclusive effect of res judicata and collateral,

               equitable, and judicial estoppel final judgment of voluntary dismissal under Fed.

               R. Civ. P. 4l(a)(2) entered on December 20, 2007, in 02cv2219 (S .D.N.Y.), after

               all applicable statutes of limitation had expired?


   4. Identification of Real Party in Interest.

           b. Which party, putative Appellee, if any, allegedly currently holds, or held a lawful

               "legally protected right" to which they suffered "a particularized concrete injury n

               facts" caused by the Appellants' lawful conduct with respect to GX 1, GX 2, GX

               3, GX 4, and GX 5, enforcement and/or collection, notwithstanding the fact that


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               these Predatory Criminal Usury debt instruments bear interest rates in excess of

               +2,000%, and thus, criminally violated NYS Penal Law, section 190.40, the

               criminal usury law, a class E felon, and also the collection thereof violated federal

               racketeering law, 18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d),               and are

               criminally usurious and thus void ab initio?


   5. Article III Standing as a Real Party in Interest to Assert an Alleged Legally Protected
      Interest in the Predatory Criminal Usury Subject Matter, GX 1-4 and GX 5.

           b. To state under oath subject to the penalty of perjury as an officer of the court, or

               interested party, identify each alleged lawful ground that the party (putative

               Appellee) claims a "legally protected interest" in GX 1-4 and GX 5 amounting to a

               "particularized and concrete iniury in fact," consistent with Lujan and Steel Co.,

               given that no party can lawfully enforce or benefit from criminally usurious

               contracts?


   6. Effect of 02cv2219 (SDNY) Dec. 20, 2007, Rule 41(a)(2) Voluntary Dismissal and
      Time-Bar.

           b. Explain under oath subject to the penalty of perjury how, if at all, do the (putative)

               Appellees circumvent or negate the preclusive effect of res judicata, collateral

               equitable, and judicial estoppel 's doctrines final judgment of voluntary dismissal

               under Fed. R. Civ. P. 41(a)(2) entered on December 20, 2007, in 02cv2219

               (S.D.N.Y.), after all applicable statutes of limitation had expired?



VI. CONCLUSION


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        In light of the foregoing, the Appellants respectfully submit that no live Article III case or

controversy exists or has ever existed as to the Predatory Criminal Usury Subject Matter (GX 1-

4 and GX 5). Absent a bona fide adverse party in interest with a lawful, non-expired claim, there

is no cognizable "injury in fact," no standing, and no subject matter jurisdiction. Consequently,

the earlier and current proceedings (02cv2219, 03-93031, and 25cv00613) are null, void ab initio,

and moot.


        Therefore, Appellants pray that this Court promptly issue an Order requiring each named

(putative) Appellee to file a sworn declaration by March 21, 2025, at 10:00 AM, specifying the

purported legal basis for any claim of a legitimate Article III injury in fact with respect to the

Predatory Criminal Usury Subiect Matter, GX 1-4, and GX 5. Should no party supply such

evidence, the Court should dismiss these proceedings in their entirety for want of subject matter

jurisdiction or, in the alternative, declare the relevant claims and judgments void ab initio and

moot; and:


          I.   enter an Order withdrawing the reference to the Bankruptcy Court regarding the

               proceedings and vest jurisdiction in the District Court to conduct sanctioning

               proceedings and other proceedings related to the 03-93031Chapter 11,

         11.   Order the Chapter 11 proceedings reopened,

        III.   Order the Appellees to immediately tum over all assets of the Chapter 11 estate, 11

               USC § 542(a), specifically, the 15 USC § 78p(b) +$522 million in short-swing

               profits, all liability insurance policies owned by any putative Appellee, and

               Appellees John Doe Insurance Companies, ##1-5 and their insured,



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          IV.     order each lawyer, officers of the court, to be referred to the District Court (NDGA),

                  the SBGA, or the respective Bar Association with a judicial recommendation for

                  lifetime disbarment for violation of Rules 3.3 and 8.4,

           V.     enter an order scheduling fraud on the court sanctioning proceedings, 28 USC

                  § 1927 sanctioning proceedings, Rule 1l(b)(l-4) sanctioning proceedings; and

                  inherent power sanctioning proceedings, and

          VI.     refer all culpable parties to the United States Department of Justice's Office on

                  Public Integrity and with a judicial recommendation to open a criminal

                  investigation on each lawyer and Appellee named herein for conspiracy to collect

                  predatory cri~inal usury unlawful debts using Hobbs Act extortion and threats of

                  violence.


Respectfully submitted,

The Office of Ulysses T. Ware
123 Linden Blvd. , Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmai 1. com

c3Jls/    Ulysses3 . ~~e Appellants

Filed ~         ch 14, 2025 , via U.S. mail and via email to the Chambers of the Hon. District Judge

Michael L. Brown pursuant to 18 USC§§ 2071(a), (b), a judicial public record, and 28 USC§

 1654 by pro se Appellants.




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                                        Certificate of Service


I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that

on this 14th day of March 2025, I caused to be served a true and correct copy of the foregoing

Appellants' Supplemental Article III Standing and Subject Matter Jurisdiction Memorandum

Application for Rules 3.3 and 8.4 Show Cause Order, a Brief Schedule, and Appellate Status

Conference via electronic m~il to all Appellees;


The Office of the District Clerk (NDGA).


Executive Director Administrative Office of the U.S. Courts,


Office of the FBI Director,


 via U.S. mail.


9!vz::/:!:~
Ulysses T. Ware

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